                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION



JOSHUA WALTER, individually and as              :
representative of a Class of Participants and
Beneficiaries of the Kerry Inc. Savings Plan,   :

                      Plaintiff,                :    Case No. 21-cv-539

                                                :   Judge Brett H. Ludwig
vs.
                                                :
KERRY INC., et al.,
                                                :
                      Defendants.
                                                :




      SUPPLEMENTAL BRIEF IN SUPPORT OF THE MOTION TO DISMISS OF
       DEFENDANTS KERRY INC., BOARD OF DIRECTORS OF KERRY INC.,
               AND BENEFITS COMMITTEE OF KERRY INC.




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I.       INTRODUCTION

         The Supreme Court’s January 24, 2022, opinion in Hughes v. Northwestern University1 is

not the type of sweeping or game-changing ruling hoped for by some on both sides of the growing

wave of ERISA2 fee cases across the country. Rather, it is a narrow per curiam ruling that focused

on, and rejected, a single thread of reasoning used by the Seventh Circuit below. (Namely, Hughes

rejected any “categorical rule” that a fiduciary satisfies its duty to remove imprudent investments

by allowing plan participants to choose from a wide range of investments). The Supreme Court

did not decide whether, once that single thread is disregarded, the defendants’ motion to dismiss

should be granted or denied. Instead, the Supreme Court remanded the case to the Seventh Circuit

to reevaluate that question for itself in light of context-specific circumstances, giving “due regard”

to the range of reasonable judgments and difficult trade-offs all fiduciaries must make.3

         This Court is in the same position here: Hughes does not dictate whether the Court ought

to grant or deny Defendants’ Motion to Dismiss; rather, Hughes simply removes from

consideration one of the several grounds put forth by Defendants here. Removing that single

argument does not change the outcome: Defendants’ Motion to Dismiss should be granted

because, among other things, the Complaint still fails to tell a plausible story that Defendants acted




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    595 U.S. __, 142 S. Ct. 737, 211 L. Ed. 2d 558 (2022).
2
  Capitalized terms and acronyms not otherwise defined have the meaning set forth in the
Memorandum in Support of the Motion to Dismiss of Defendants Kerry Inc., Board of Directors
of Kerry Inc., and Benefits Committee of Kerry Inc. (“Mem. Supp. Mot. Dismiss”) (Doc. 11) and
the Reply in Support of the Motion to Dismiss of Defendants Kerry Inc., Board of Directors of
Kerry Inc., and Benefits Committee of Kerry Inc. (“Reply”) (Doc. 16).
3
 While the Seventh Circuit has not yet issued a decision on remand, Circuit Rule 54 Statements
setting forth the parties’ statements of their positions as to the action that the Seventh Circuit
should take in light of remand are due by March 18, 2022. See Docket Entry, Divane v.
Northwestern Univ., No. 18-2569 (7th Cir. Feb. 25, 2022) (Doc. 72).


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imprudently, and Plaintiff still lacks standing to pursue his claim relating to the investment

management fees associated with the R6 Share Class, an option in which he never invested.

        Importantly, Hughes does not cast any doubt on the requirement that, to state a claim for

breach of ERISA fiduciary duty based solely on excessive fees paid to a service provider, the

complaint must tell a plausible story—supported by references to “meaningful benchmarks”—that

the fiduciary’s choices were objectively unreasonable. Moreover, Hughes reaffirms the need for

courts to undertake a careful, context-specific analysis at the pleadings stage to determine whether

an ERISA claim for fiduciary breach fails to state a claim. Indeed, the Supreme Court specifically

directed the Seventh Circuit, when reevaluating the motion to dismiss on remand, to “give due

regard to the range of reasonable judgments a fiduciary may make.” 211 L. Ed. 2d at 565.

        Using the careful, context-specific approach that takes into account a fiduciary’s range of

reasonable judgments, the Complaint here fails to plausibly allege that Defendants acted

imprudently with respect to the recordkeeping fees paid by Plan participants (Counts I and IV),

the inclusion of the R6 Share Class in the investment options available to Plan participants (Counts

III and VI), and the fees associated with voluntary managed account services available to Plan

participants (Counts II and V). Accordingly, Hughes supports granting the Motion to Dismiss in

its entirety.

II.     LAW AND ARGUMENT

        A.      Hughes Is a Limited Decision: It Rejected a Single Argument That is Not
                Integral to Defendants’ Motion to Dismiss.

        Of the many grounds for dismissal raised in Defendants’ Motion to Dismiss, Hughes

addresses only one – a minor one at that. Hughes does not broadly restate the law applicable to

defined contribution plans or change the pleading standards to state a claim for breach of fiduciary

duty. Rather, the Supreme Court’s ruling in Hughes focused exclusively on the Seventh Circuit’s



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application of a “categorical rule” that offering several prudent investments and giving participants

the choice to select those investments and control their recordkeeping fees cured any impact of

also offering imprudent funds. Hughes, 211 L. Ed. 2d at 564. Finding that such a rule was

inconsistent with ERISA, the Supreme Court “vacate[d] the judgment below so the [Seventh

Circuit] may reevaluate the allegations as a whole.” Id.

         Here, while Defendants cited the Seventh Circuit’s decision in Divane4 many times in their

briefing, they placed minimal reliance on the specific “categorical rule” rejected in Hughes—less

than three pages of the briefing on the Motion to Dismiss apply the “categorical rule.” (See Memo.

Supp. Mot. Dismiss at 21-22; Reply Supp. Mot. Dismiss at 9-10 (a large menu of investment

options available to participants); Memo. Supp. Mot. Dismiss at 14 (Divane indicated

recordkeeping fees were reasonable as a matter of law)).

         Plaintiff even acknowledged, as it relates to recordkeeping fees, that the portion of Divane

relating to participant choice in incurring recordkeeping fees is “not at all analogous to this case.”

(See Plaintiff’s Opp. to Mot. Dismiss at 3 (“Specifically, in order to have access to a very popular

fund, the [Northwestern] Plan had to pay higher recordkeeping fees. . . . That’s not at all analogous

to this case.”) (Doc. 14)). In Divane, the challenged recordkeeping costs were included in the

fund’s expense ratio, and therefore were paid only by participants who invested in the challenged

fund. Divane, 953 F.3d at 890. Here, as Plaintiff recognizes, the recordkeeping fees that are the

subject of Count I were paid on a per-participant basis, regardless of investment choice. (See

Plaintiff’s Opp. to Mot. Dismiss at 3).




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    Divane v. Northwestern Univ., 953 F.3d 980 (7th Cir. 2020).


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       B.      Hughes Does Not Change the Stringent Pleading Requirements Applicable to
               the Complaint.

       Even without the discrete argument rejected in Hughes, Defendants’ Motion to Dismiss

establishes that the Complaint fails to state a claim upon which relief could be granted. Nothing

in Hughes casts doubt on other grounds for dismissing Plaintiff’s complaint set forth in

Defendants’ Motion to Dismiss. For example, Hughes simply did not address the meaningful

benchmark standard or the need for a plaintiff to have standing. Thus, the primary focus of

Defendants’ Motion to Dismiss is not adversely affected by Hughes.

               1.     Hughes Does Not Disturb the “Meaningful Benchmark” Standard
                      Applicable to “Excessive Fee” Cases.

       A complaint seeking relief for breach of ERISA fiduciary duty based solely on excessive

fees paid to a service provider must plausibly allege that the fiduciary’s actions were objectively

unreasonable. See, e.g., Meiners v. Wells Fargo & Co., 898 F.3d 820, 822 (8th Cir. 2018) (ERISA

plaintiffs need to plead allegations that show “‘a prudent fiduciary in like circumstances’ would

have selected a different fund based on the cost or performance of a selected fund.”); Renfro v.

Unisys Corp., 671 F.3d 314, 322 (3d Cir. 2011) (requiring an ERISA plaintiff to plead no

“hypothetical prudent fiduciary” would have made the same objective choice); Anderson v. Intel

Inv. Policy Comm., No. 19-CV-04618-LHK, 2022 U.S Dist. LEXIS 3946, at *45-46 (N.D. Cal.

Jan. 8, 2022); Albert v. Oshkosh Corp., No. 20-C-901, 2021 U.S. Dist. LEXIS 166750, at *3-4

(E.D. Wisc. Sept. 2, 2021); also Divane, 953 F.3d at 988. For such allegations to be plausible, the

complaint must identify a “meaningful benchmark” comparison demonstrating that no prudent

fiduciary would have made the same choice. Meiners, 898 F.3d at 822; Anderson, 2022 U.S Dist.

LEXIS 3946, at *45-46; Davis v. Salesforce.com, Inc., No. 20-cv-01753-MMC, 2021 U.S. Dist.

LEXIS 73017 (N.D. Cal. Apr. 15, 2021). While Divane did not use the terminology “meaningful




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benchmark,” its analysis was functionally the same by stating that the complaint failed to identify

a recordkeeper that would have accepted the lower fee and would have provided the same level

and quality of services as the one selected by defendants. Divane, 953 F.3d at 991.

       Hughes simply did not address the meaningful benchmark standard or its underpinnings in

any way. Thus, the primary thrust of Defendants’ Motion to Dismiss is not negatively affected by

Hughes.

               2.       Hughes Did Not Kick the Can Down the Road to Summary Judgment.

       The procedural posture of Hughes is important. The Supreme Court neither reversed nor

affirmed the decision below. Instead, it remanded the case to the Seventh Circuit for a Rule

12(b)(6) do-over, directing that the Seventh Circuit “reevaluate the allegations as a whole,” this

time without relying on one particular argument.

       If there is a theme to Plaintiff’s Opposition to Defendants’ Motion to Dismiss, it is that

issues of prudence and benchmarks in ERISA fee cases are messy and should be deferred until the

summary judgment stage. (See, e.g., Plaintiff’s Opp. to Mot. Dismiss at 7, 15 n.14, 19-20). Hughes

did not embrace such an approach. If it thought there was no opportunity for the defendants to

prevail on their Rule 12(b)(6) motion, the Supreme Court could have reversed Divane and denied

defendants’ motion to dismiss. But it did not. Instead, the Supreme Court remanded the case for

the Seventh Circuit to decide the motion to dismiss in a new light. The Supreme Court also could

have set forth a rule that issues of prudence and benchmarks are messy and ought to be handled at

the summary judgment stage instead of the pleading stage. But it did not. In fact, the Hughes

Court cited Fifth Third Bancorp v. Dudenhoeffer, in which the Supreme Court specifically held

that Rule 12(b)(6) is an important mechanism for weeding out meritless ERISA complaints. 573

U.S. 409, 425 (2014).




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       Hughes is in fact a rejection of Plaintiff’s argument that all of this should be sorted out at

the summary judgment stage instead of the motion to dismiss stage.

       C.      Hughes Instructed Courts to “Give Due Regard to the Range of Reasonable
               Judgments” Made by Fiduciaries.

       While the Hughes holding is narrow, the decision also reinforces the importance of a

careful, context-specific analysis of ERISA fiduciary claims at the motion to dismiss stage.

Hughes, 211 L. Ed. 2d at 564-65 (quoting Dudenhoeffer, 573 U.S. at 425 (“Because the content of

the duty of prudence turns on the ‘circumstances . . . prevailing’ at the time the fiduciary acts, . . .

the appropriate inquiry will necessarily be context specific.”). Further, because of the unique issues

facing ERISA fiduciaries, which “implicate difficult tradeoffs,” the Supreme Court also instructed

that this careful analysis “must give due regard to the range of reasonable judgments a fiduciary

may make based on her experience and expertise” when evaluating the allegations at the Rule

12(b)(6) stage. Id. at 565. This instruction strikes at the heart of the Motion—the Complaint fails

to “give due regard to the range of reasonable judgments a fiduciary may make” and instead seeks

to substitute Plaintiff’s judgment for that of the Plan’s fiduciaries: “I think you paid too much.”

       For example, Count III seeks relief for the decision to offer the R6 Share Class because the

A Share Class was cheaper, but only after accounting for revenue sharing—a practice that allows

mutual funds to share a portion of the fees they collect with other entities providing services to the

funds, often with less transparency and certainty. (Memo. Supp. Mot. Dismiss at 24-26 (citing

Leimkuehler v. Am. United Life Ins. Co., 713 F.3d 905, 907 (7th Cir. 2013); Reply at 8-9). The

Complaint fails to even plead enough facts to undertake the careful, context-specific analysis

required of this Court at the pleading stage, however. Instead, it relies solely on speculative

allegations without factual support that revenue sharing would be credited back to participants and

somehow reduce the overall expense paid by the Plan participants for recordkeeping services. (See,



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e.g., Compl. ¶¶ 174). These sparse and speculative allegations simply do not allow this Court to

undertake a careful analysis of whether selecting the cheaper R6 Share Class instead of the A Share

Class was imprudent.

       And, even accepting the speculative allegation that the A Share Class would be cheaper

when accounting for revenue sharing as true, the direct fees associated with the R6 Share Class

also have clear benefits, including the ability to provide transparency and certainty to Plan

participants regarding the fees they are paying to Plan service providers.5 (Memo. Supp. Mot.

Dismiss at 24-26; Reply at 8-9). Thus, by selecting the R6 Share Class, which is already cheaper

on its face, Defendants at most made a “difficult tradeoff[]” that falls within the “range of

reasonable judgments a fiduciary may make based on her experience and expertise.” Hughes, 211

L. Ed. at 565. Giving “due regard” to this range of reasonable judgments, as the Supreme Court’s

decision in Hughes requires, Plaintiff’s story that Defendants’ process was imprudent in selecting

the R6 Share Class is implausible.

       The same is true with respect to the claims for recordkeeping fees (Count I) and managed

account services fees (Count II). Plaintiff’s sole basis to infer that Defendants followed an

imprudent process in selecting the Plan’s recordkeeper and management account services provider

is cost. (See, e.g., Compl. ¶¶ 120, 134, 189-192). Not only do these allegations fail to give factual

support such that this Court can undertake a careful, context-specific analysis as to whether the

selection of Empower was objectively unreasonable, but Plaintiff’s theory fails to account for the

numerous other factors a fiduciary must consider in selecting a recordkeeper or managed account


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 The benefit of offering the R6 Share Class is perhaps best exemplified by the fact that many cases
alleging that ERISA fiduciaries offered share classes that were too expensive, plaintiffs argue that
offering a share class that is more expensive but permits revenue sharing over a cheaper share class
without revenue sharing is breach of fiduciary duty—the opposite of Plaintiff’s argument here.
(See Memo. In Support at 24 n.14 (citing Davis, 2021 U.S. Dist. LEXIS 73017, at *9-11).


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services provider. See Hecker v. Deere & Co., 556 F.3d 575, 586 (7th Cir. 2009) (“[N]othing in

ERISA requires every fiduciary to scour the market to find and offer the cheapest possible [option]

(which might, of course, be plagued by other problems).”). For example, Plaintiff’s theory that a

prudent fiduciary would always select the least expensive recordkeeper or managed account

services provider is not plausible because it fails to account for the fact that a more expensive

option often offers other benefits, such as better security, better services, and improved

efficiencies, that justify a higher fee because it realizes greater benefits to participants. Thus, so

long as the choice is not objectively unreasonable in comparison with peers receiving the same

level and quality of services, selecting a more expensive option with better services falls within

the “range of reasonable judgments a fiduciary may make.” Hughes, 211 L. Ed. at 565.

       D.       Hughes Did Not Address Standing or Other Arguments Made by
                Defendants.

       With its narrow focus, Hughes has nothing to say about other arguments in Defendants’

Motion to Dismiss that are independently sufficient bases to dismiss the Complaint unrelated to

the fact that the Complaint fails to plausibly allege Defendants’ were objectively unreasonable.

For example:

               Plaintiff never invested in the R6 Share Class, but instead used the voluntary

                managed account services. He therefore lacks Article III standing to pursue Counts

                III and VI, which relate solely to fees associated with the R6 Share Class that

                Plaintiff never paid. (Mem. Supp. Mot. Dismiss at 20-21; Reply at 12-14).

               Offering the R6 Share Class, a cheaper share class without revenue sharing, rather

                than the A Share Class, a more expensive share class that allows for revenue

                sharing, falls within the range of reasonable judgments a fiduciary may make,

                particularly considering numerous cases alleging that offering a more expensive


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                share class with revenue sharing, like the A Share Class, is imprudent. (Mem. Supp.

                Mot. Dismiss at 22-24; Reply at 8-9).

               Count III is based entirely on speculative allegations that revenue sharing available

                in the A Share Class would be credited back to participants to reduce the overall

                cost paid by participants, which are not sufficient to allege a plausible claim for

                relief. (Memo. Supp. Mot. Dismiss at 24-26; Reply at 8-9).

               The duty of loyalty claims (Counts I-III) fail because they merely repackage the

                duty of prudence claims without “allegations of self-interest or self-dealing.”

                (Memo. Supp. Mot. Dismiss at 28-29; Reply at 14-15).

               The failure to monitor claims (Counts IV-VI) fail because the Complaint fails to

                plausibly allege any facts that the Director Defendants’ monitoring process was

                flawed, and the allegations instead “read[] like legal conclusions as opposed to

                factual allegations.”. (Reply at 15 (quoting Nicolas v. Trs. Of Princeton Univ., No.

                17-cv-3695, 2017 U.S. Dist. LEXIS 151775, at *13 (D.N.J. Sept. 18, 2017));

                Memo. Supp. Mot. Dismiss at 29-30).

III.   CONCLUSION

       Hughes supports granting Defendants’ Motion to Dismiss. For each of the foregoing

reasons, and the reasons stated in the Motion to Dismiss and Reply in Support of the Motion to

Dismiss, Defendants request this Court dismiss the Complaint of Plaintiff Joshua Walter,

individually and as representative of a Class of Participants and Beneficiaries of the Kerry Inc.

Savings Plan.




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                            of Kerry Inc.




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                               CERTIFICATE OF SERVICE

       A copy of the foregoing was filed electronically on March 11, 2022 with the Clerk of Court

using the CM/ECF system. Service will be made through the Court’s CM/ECF system on all

parties and attorneys so registered, and all parties may access this filing through the Court’s

system.

                                                    /s/ Brian J. Lamb




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